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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                (LOUISVILLE DIVISION)


 PENELOPE C. JONES                                                             PLAINTIFF
 1111 Willow Park Circle
 Louisville, Kentucky 40299

                                                             Case No. 3:15-cv-00248-JHM
 v.
                                                             Judge Joseph H. McKinley


 PHOENIX MANAGEMENT SYSTEMS, INC.
 d/b/a PHOENIX MANAGEMENT SYSTEMS
 24 North Front Street
 New Ulm, Minnesota 56073


                                    NOTICE OF DISMISSAL

        PLEASE TAKE NOTICE that, upon agreement of the Plaintiff, Penelope Jones, and the

 Defendant, Phoenix Management Systems, Inc. d/b/a Phoenix Management Systems, the Court is

 hereby advised that Plaintiff’s claims asserted in this litigation against Phoenix Management

 Systems, Inc. d/b/a Phoenix Management Systems, are hereby DISMISSED WITH PREJUDICE,

 each party to bear its own attorneys’ fees and costs

                                                        s/David W. Hemminger
                                                        David W. Hemminger
                                                        HEMMINGER LAW OFFICE, PSC
                                                        616 South Fifth St.
                                                        Louisville, Kentucky 40202
                                                        Counsel for Plaintiff
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 25th day of July, 2015 I electronically filed the foregoing with
 the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
 to all parties of record.

                                               /s/David W. Hemminger
                                               David W. Hemminger




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